From:                             Bernard Ozarowski <bozarowski@gagespencer.com>
Sent:                             Wednesday, January 13, 2016 11:24 AM
To:                               Wood, R. Craig
Cc:                               Riley, Melissa Wolf; William Fleming; Robert Gage; David G Harrison
                                  (david@harrisonfirm.us)
Subject:                                 Subpoenas
Attachments:                      Notice of Subpoena          1.13.16.pdf;     Trial Subpoena.pdf


Craig, 
 
Attached please find copies of the subpoenas we have attempted to serve on               today at what our best efforts 
indicate to be Ms.        home address in                  We have also sent copies to you via first class mail. 
 
Best, 
Bernard 
 
Bernard W. Ozarowski, III
Gage Spencer & Fleming LLP
410 Park Avenue
New York, New York 10022
Tel: (212) 768-4900
Fax: (212) 768-3629

GS&F
www.gagespencer.com

This message contains confidential and privileged information. Dissemination or duplication of this material is
prohibited. If you are not the intended recipient, please notify the sender and delete this email and any
attachments thereto from your system. Thank you. 
 




                                                           1
                                                                                                    Exhibit A
                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                             LYNCHBURG DIVISION

John Doe,
                                                                Civil Action No.:
       Plaintiff,                                               6:14-cv-0052-NKM

   -against-                                                    John Doe’s Notice of
                                                                Subpoena to
Washington and Lee University,

       Defendant.


               PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of

Civil Procedure, Plaintiff John Doe will serve a subpoena on                         seeking

documents and deposition testimony by                with respect to the matters described in

Schedule A attached to the subpoena. The deposition shall take place on January 21, 2016

at 9:30 A.M. at the offices of Smith, Gambrell & Russell LLP, 1230 Peachtree Street N.E.,

31st Floor, Atlanta, Georgia 30309, continuing from day to day until completed, or at such

other time on that date or such other location as shall be mutually agreed to by the parties

and the deponent. The deposition will be stenographically recorded by a person authorized

by law to administer oaths. A copy of the subpoena is attached to this Notice as Exhibit 1.


                                                /s/     William B. Fleming
                                                William B. Fleming (NY Bar No. 2514651)
                                                Gage Spencer & Fleming LLP 410 Park
                                                Avenue, Suite 900 New York, New York
                                                10022 Tel:     (212) 768-4900
                                                Fax:    (212) 768-3629
                                                wfleming@gagespencer.com
/s/
David G. Harrison (VSB 17590)
The Harrison Firm, PC
5305 Medmont Circle, SW
Roanoke, VA 24018-1120
Tel:    (540) 777-7100
Fax:    (540) 777-7101
david@harrisonfirm.us

Attorneys for Plaintiff John Doe
                                     Certificate of Service

              I certify that a copy of this document was served on all counsel of record by

U.S. certified mail, return receipt requested, on January 13, 2016.


                                                              /s/   William B. Fleming
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 6:14-cv-0052-NKM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
                                         Schedule A:

                                  Definitions and Instructions:

              For the purposes of this discovery request, the following words and phrases are

defined as follows:

              A.      This subpoena calls for the production of specific documents in the

possession, custody or control of Jane Doe including responsive electronic documents and

paper documents. This subpoena covers the time period 2014 to the present (“Responsive

Time Period”) unless otherwise specified.

              B.      Please produce requested records in electronic form without

manipulating or limiting their accessibility or stripping any content, either visible or hidden.

Electronic documents are requested to be produced in PDF or Word format, or in native

format capable of being opened by Adobe Acrobat XI.

              C.      “W&L” means Washington and Lee University and all of its

employees, staff and agents.

              D.      “John Doe” means the plaintiff in the above-referenced action.

              E.      “Parties” means John Doe and W&L.

              F.      “Jane Doe,” “You” or “Your” means the individual who filed a

complaint with W&L against John Doe alleging sexual misconduct.

              G.      “Title IX Assessment” means the initial Title IX assessment described

in W&L’s Interim Sexual Misconduct Policy,1 at § IX(B).




1
 http://www.wlu.edu/general-counsel/code-of-policies/discrimination-harassment-and-
retaliation/interim-university-policy-on-prohibited-discrimination-harassment-and-
retaliation-other-than-sex/interim-sexual-harassm-x9664-ml
              H.      “Hearing” means the hearing conducted after the Investigation into

John Doe that ultimately led to John Doe’s dismissal.

              I.      “Appeal” means John Doe’s appeal that he filed after W&L made a

finding of sexual misconduct which was denied by W&L.

              J.      “Lawsuit” means the above-referenced action currently active in the

Western District of Virginia, No. 6:14-cv-0052-NKM.

              K.      “John   Doe’s   Investigation   and    Dismissal”   means   Investigation,

Investigative Report, Title IX Assessment, Hearing, Appeal, Lawsuit and all investigatory

acts and decisions made in connection with W&L’s decision to dismiss John Doe. A

reference to “John Doe’s Investigation and Dismissal” expressly includes Documents and

Communications before a formal complaint was made against John Doe by Jane Doe and

subsequent to the dismissal of John Doe, up to and including the present.

              L.      “SFHB” means the Student Faculty Hearing Board as defined by

W&L’s Interim Sexual Harassment and Misconduct Policy, § XI(F).

              M.      “Person” means the plural as well as the singular and shall include any

individual, corporation, partnership, joint venture, association, government agency and every

other form of entity cognizable at law.

              N.      “Communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise), between two or more persons or entities and shall include

without limitation, all forms of electronic communication.

              O.      “Document” is defined to be synonymous in meaning and equal in scope

to the usage of the term “Documents or electronically stored information” in Fed. R. Civ. P.
34(a)(1)(A). A draft or non-identical copy is a separate document within the meaning of this

term.

                 P.   “Identify” with respect to Persons means to give to the extent known, the

person’s full name, present or last known address, and when referring to a natural person,

additionally, the present or last known place of employment. Once a person has been

identified in accordance with this paragraph, only the name of that person need be listed in

response to subsequent discovery requesting the identification of that person.

                 Q.   “Identify” with respect to Documents means to give, to the extent

known, the (i) type of document; (ii) general subject matter; (iii) date of the document; and

(iv) author(s), addressee(s) and recipient(s). In the alternative, the responding party may

produce the Documents, together with identifying information sufficient to satisfy Fed. R.

Civ. P. 33(d).

                 R.   “Concerning” means relating to, referring to, describing, evidencing or

constituting.

                 S.   “All,” “any” and “each” shall each be construed as encompassing any

and all.

                 T.   The connectives “and” and “or” shall be construed either disjunctively

or conjunctively as necessary to bring within the scope of the discovery request all responses

that might otherwise be construed to be outside of its scope.

                 U.   The use of the singular form of any word includes the plural and vice

versa.

                 V.   All Documents shall be produced as they are kept in the usual course of

business or affairs with any identifying labels, file markings or similar identifying features.
Documents not maintained in electronic format shall be produced in their original file folders,

or, in lieu thereof, any writing on the file folders from which the Documents are taken shall

be copied and appended to such Documents, and the person for whom, or department,

division, or office for which such file folders are maintained, shall be identified. If there are

no Documents responsive to a category specified below, plaintiffs shall so state in a writing

produced at the time and place that Documents are demanded to be produced by this request.

              W.      If any document requested herein has been lost, discarded or

destroyed, the document so lost, discarded or destroyed shall be identified in a writing

(produced at the time and place that Documents are demanded to be produced by this

request) as completely as possible, together with the following information: date of disposal,

person authorizing the disposal and person disposing of the Documents.

              X.      If you object to any request, answer all portions of the request to which

your objection does not relate; and state your objection and the reasons therefor as to the

portion to which you object.

              Y.      This subpoena does not call for the production of any Documents

protected by a valid claim of privilege, although any responsive document over which

privilege is being asserted must be preserved. Any Documents withheld on grounds of privilege

must be identified on a privilege log with descriptions sufficient to identify their dates,

authors, recipients, and general subject matter.
                                           Requests:

              1.      All Documents and Communications Concerning John Doe.

              2.      All Documents and Communications Concerning meetings between You,

Lauren Kozak, Jason Rodocker and/or any other member of the W&L faculty Concerning

John Doe’s Investigation and Dismissal. To the extent not evident from the produced Documents

and Communications please also include the dates of the meetings.

              3.      All Documents and Communications with any witnesses or potential

witnesses Concerning John Doe and/or John Doe’s Investigation and Dismissal.

              4.      All Documents and Communications Concerning the Hearing including, but

not limited to, notes research and any other thing You did to prepare for the Hearing.

              5.      All Documents provided to You during John Doe’s Investigation and

Dismissal Concerning the backgrounds of the possible members of the SFHB.

              6.      All Documents and Communications Concerning any discussion or

presentation, formal or informal, Concerning sexual misconduct, gender bias or Title IX,

made either before, during, or after (1) an October 5, 2014 SPEAK presentation on W&L’s

campus; and (2) an October 7, 2014 SPEAK presentation.

              7.      All Documents and Communications Concerning any instructions

Concerning confidentiality or contact with potential witnesses.

              8.      All Documents and Communications, including social media,2 blog

postings and any other writing Concerning John Doe, the allegations against John Doe,




2
 This includes, but is not limited to, Google+, Facebook, Twitter, Instagram, Meetup.com,
Orkut, Snapchat, Whatsapp, Flickr, Gather.com, Tumblr, Windows Live Spaces, MSN
Spaces, LinkedIn, Monster.com, CareerBuilder.com, groupme.com, blogs, or wikis.
W&L’s handing of the sexual allegations against John Doe, SPEAK, sexual misconduct

generally, rape and/or “grey rape.”

               9.     All Documents and Communications directly or indirectly Concerning

John Doe which you have published, posted or commented on “The Facing Project.”3

               10.    All Documents and Communication Concerning Your retention of

documents Concerning John Doe’s Investigation and Dismissal.


Dated:         January 13, 2016
                                                  /s/     William B. Fleming
                                                  William B. Fleming (NY Bar No. 2514651)
                                                  Gage Spencer & Fleming LLP 410 Park
                                                  Avenue, Suite 900 New York, New York
                                                  10022 Tel:     (212) 768-4900
                                                  Fax:    (212) 768-3629
                                                  wfleming@gagespencer.com


                                                  /s/
                                                  David G. Harrison, Esquire (VSB #17590)
                                                  The Harrison Firm, P.C.
                                                  5305 Medmont Circle
                                                  Roanoke, Virginia 24018-1120
                                                  (540) 777-7100
                                                  david@harrisonfirm.us

                                                  Attorneys for Plaintiff John Doe




3
    http://www.facingproject.com/
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No. 6:14-cv-0052-NKM

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                 .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                            ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                               .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                                 for services, for a total of $          0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                       Server’s signature



                                                                                                     Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
